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  JS 44 (Rev. 12/07)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil
docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS                                                                                          DEFENDANTS
              AMPCO SYSTEM PARKING                                                                                 JOHN D. CONWAY
    (b)    County of Residence of First Listed Plaintiff            Los Angeles (CA) County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
                                                                                                                          LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
    Conrad S. Kee and Bronwyn H. Pepple, Jackson Lewis LLP
    1050 17th St., Suite 2450, Denver, CO 80265
    303-892-0404
II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)              III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                       and One Box for Defendant)
    1   U.S. Government                 3 Federal Question                                                                        PTF        DEF                                          PTF        DEF
           Plaintiff                        (U.S. Government Not a Party)                          Citizen of This State              1       x 1     Incorporated or Principal Place          4       4
                                                                                                                                                      of Business In This State

    2   U.S. Government               x4 Diversity                                                 Citizen of Another State            2          2   Incorporated and Principal Place      x5          5
           Defendant                                                                                                                                     of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                   Citizen or Subject of a             3          3   Foreign Nation                           6        6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                 TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                        OTHER STATUTES
    110 Insurance                    PERSONAL INJURY                     PERSONAL INJURY              610 Agriculture                      422 Appeal 28 USC 158              400 State Reapportionment
    120 Marine                        310 Airplane                        362 Personal Injury -       620 Other Food & Drug                423 Withdrawal                     410 Antitrust
    130 Miller Act                    315 Airplane Product                    Med. Malpractice        625 Drug Related Seizure                 28 USC 157                     430 Banks and Banking
    140 Negotiable Instrument             Liability                      365 Personal Injury -            of Property 21 USC 881                                              450 Commerce
    150 Recovery of Overpayment       320 Assault, Libel &                    Product Liability       630 Liquor Laws                      PROPERTY RIGHTS                    460 Deportation
        & Enforcement of Judgment         Slander                        368 Asbestos Personal        640 R.R. & Truck                     820 Copyrights                     470 Racketeer Influenced and
    151 Medicare Act                  330 Federal Employers’                  Injury Product          650 Airline Regs.                    830 Patent                             Corrupt Organizations
    152 Recovery of Defaulted             Liability                           Liability               660 Occupational                     840 Trademark                      480 Consumer Credit
        Student Loans                 340 Marine                       PERSONAL PROPERTY                  Safety/Health                                                       490 Cable/Sat TV
        (Excl. Veterans)              345 Marine Product                 370 Other Fraud              690 Other                                                               810 Selective Service
    153 Recovery of Overpayment           Liability                      371 Truth in Lending                   LABOR                      SOCIAL SECURITY                    850 Securities/Commodities/
        of Veteran’s Benefits         350 Motor Vehicle                  380 Other Personal           710 Fair Labor Standards             861 HIA (1395ff)                       Exchange
    160 Stockholders’ Suits           355 Motor Vehicle                      Property Damage              Act                              862 Black Lung (923)               875 Customer Challenge
x   190 Other Contract                    Product Liability              385 Property Damage          720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))                 12 USC 3410
    195 Contract Product Liability    360 Other Personal                     Product Liability        730 Labor/Mgmt.Reporting             864 SSID Title XVI                 890 Other Statutory Actions
    196 Franchise                         Injury                                                         & Disclosure Act                  865 RSI (405(g))                   891 Agricultural Acts
        REAL PROPERTY                   CIVIL RIGHTS                   PRISONER PETITIONS             740 Railway Labor Act                FEDERAL TAX SUITS                  892 Economic Stabilization Act
    210 Land Condemnation             441 Voting                         510 Motions to Vacate        790 Other Labor Litigation           870 Taxes (U.S. Plaintiff          893 Environmental Matters
    220 Foreclosure                   442 Employment                         Sentence                 791 Empl. Ret. Inc.                       or Defendant)                 894 Energy Allocation Act
    230 Rent Lease & Ejectment        443 Housing/                       Habeas Corpus:                   Security Act                     871 IRS—Third Party                895 Freedom of Information
    240 Torts to Land                    Accommodations                  530 General                                                           26 USC 7609                        Act
    245 Tort Product Liability        444 Welfare                        535 Death Penalty                 IMMIGRATION                                                        900Appeal of Fee Determination
    290 All Other Real Property       445 Amer. w/Disabilities -         540 Mandamus & Other         462 Naturalization Application                                              Under Equal Access
                                         Employment                      550 Civil Rights             463 Habeas Corpus -                                                         to Justice
                                      446 Amer. w/Disabilities -         555 Prison Condition            Alien Detainee                                                       950 Constitutionality of
                                         Other                                                        465 Other Immigration                                                       State Statutes
                                      440 Other Civil Rights                                             Actions




V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                Appeal to District
x1 Original                 2 Removed from                     3 Remanded from                   4 Reinstated or             5 Transferred  from
                                                                                                                               another district          6 Multidistrict            7 Judge from
                                                                                                                                                                                      Magistrate
        Proceeding             State Court                           Appellate Court               Reopened                                    Litigation
                                                                                                                    (specify)                                         Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): 28 U.S.C. 1332(a)(1)
VI. CAUSE OF ACTION Brief description of cause:
                                                                           Breach of Contract
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER F.R.C.P. 23                                                                                    JURY DEMAND:                   Yes      xNo
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                                DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

 RECEIPT #                      AMOUNT                                       APPLYING IFP                                    JUDGE                            MAG. JUDGE
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required
for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each
civil complaint filed. The attorney filing a case should complete the form as follows:
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship
of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature
of suit, select the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity.           Example:              U.S. Civil Statute: 47 USC 553
                                                Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
